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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 20-cv-20884-UU

CRUISE PARTNERS, LLC,

       Plaintiff,

v.

ROYAL CARIBBEAN CRUISES, LTD.,

       Defendant.
                                                      /

                                              ORDER

       THIS CAUSE comes before the Court upon the parties’ Joint Stipulation of Voluntary

Dismissal Without Prejudice (the “Stipulation”). D.E. 17. The Court having considered the

Stipulation and the pertinent portions of the record and being otherwise fully advised on the

premises, it is hereby

       ORDERED AND ADJUDGED that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the

Stipulation is approved, and this case is hereby DISMISSED WITHOUT PREJUDICE, with each

party bearing its own attorneys’ fees and costs. It is further

       ORDERED AND ADJUDGED that the Clerk of Court SHALL administratively close this

case. All future hearings and deadlines are CANCELLED, and all pending motions are DENIED

AS MOOT.

       DONE AND ORDERED in Chambers, Miami, Florida, this 20th day of November, 2020.



                                              __________________________________
                                              URSULA UNGARO
                                              UNITED STATES DISTRICT JUDGE
Copies furnished:
All counsel of record
